Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 1 of 11 PageID #: 124




                               UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF LOUISIANA

                                      LAFAYETTE DIVISION

 EDMOND THORNTON

 VERSUS                                           :   CIVIL ACTION NO.: 6:21-CV-04131

 LAFAYETTE CITY-PARISH CONSOLIDATE:D JUDGE ROBERT SUMMERHAYS;
 GOVERNMENT, ET AL                   MAG. JUDGE HANNA

 ::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::

                                       RULE 26(f) REPORT

 Trial Date:                    August 7, 2023 at 9:30 a.m.

 Pretrial Conference Date:      July 19, 2023 at 11:00 a.m.

 Type of Trial: 9 JURY          : BENCH

 Estimated length of trial is 3 court days.

 1.     Participants:

        Mr. Robert B. Brahan, Jr., counsel for Plaintiff, Edmond Thornton;

       Mr. Bryan D. Scofield, counsel for Defendant, Lafayette City-Parish Consolidated
 Government; AND

        Ms. Joy C. Rabalais, counsel for Defendant, Officer Alex Ritter, in His Individual
        Capacity

 2.     Affirmation Regarding Initial Disclosures:

        The parties participating in the conference affirm that they have complied with the initial
 disclosure requirements of Fed. R.Civ.P. 26 (a) (1).

 3.     Jurisdictional Basis:

        Jurisdiction in this case arises under 28 U.S.C. § 1331 as to the claims alleged under 42
 U.S.C. § 1983 and 28 U.S.C. § 1343, and supplemental jurisdiction in this case arises
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 2 of 11 PageID #: 125




 under 28 U.S.C. § 1367 as to plaintiff’s state tort claims. Jurisdiction is not disputed in
 this matter.

 4.      Brief Description of Claims:

         On the evening of December 31, 2020, plaintiff Edmond Thornton was arrested and taken
 to the Lafayette Parish Jail by defendant Alex Ritter, who was, at all times relevant herein, acting
 under color of state law and in the course and scope of his employment with defendant, the
 Lafayette City-Parish Consolidated Government ("LCG"), who is vicariously liable for the
 actions of Ritter. Upon their arrival at the jail, Ritter drove Thornton, who was handcuffed
 behind his back, from his LCG police cruiser and proceeded to escort plaintiff towards the
 building.

         Suddenly and without provocation, and while plaintiff posed no threat whatsoever, Ritter
 attacked plaintiff, repeatedly punching plaintiff in his face and jaw, slamming plaintiff's head
 against the wall of the building, choking plaintiff, and otherwise using excessive and unjustified
 force in direct violation of plaintiff's civil rights, and in violation of state and federal law. As the
 result of Ritter's vicious and unprovoked attack, plaintiff suffered severe and debilitating injuries,
 including broken bones in his face and jaw, which required surgery to repair and which will more
 likely than not require additional surgeries in the future.

         Plaintiff further contends that Ritter is not entitled to qualified immunity because his
 actions violated Edmond Thornton's constitutional rights which were clearly established at the
 time of the attack. See, e.g. Brown v. Lynch, 524 F. App'x 69, 81 (5th Cir. 2013) ("At the time of
 the incident, the law was clearly established in this circuit that repeatedly striking a non-resisting
 suspect is excessive and unreasonable force."); Bush v. Strain, 513 F.3d 492 (5th Cir. 2008)
 (holding that an officer had used excessive force when he slammed a suspect's face into a vehicle
 after she had ceased resisting arrest); Goodson v. City of Corpus Christi, 202 F.3d 730 (5th Cir.
 2000) (officers violated clearly established right when they tackled assault suspect, breaking his
 shoulder, after he pulled his arm away from grabbing officer and took few steps backward);
 Anderson v. McCaleb, 480 F. App'x 768 (5th Cir. 2012) (concluding that, while a reasonable use
 of force for purposes of the Fourth Amendment is not capable of precise definition or mechanical
 application, in December 2008, a police officer "should have known that he could not beat [the
 suspect] after he stopped resisting arrest").

         In addition, plaintiff claims that LCG has a history of failing to properly supervise,
 monitor, and train Lafayette police officers, like defendant Alex Ritter, as well as overlooking
 and failing to properly investigate officer misconduct and for implicitly or explicitly adopting
 careless and reckless policies, customs, or practices which created a consequence-free
 environment where defendant Alex Ritter felt free to violate Edmond Thornton's constitutional
 rights and commit negligent acts against plaintiff as described above.

         Finally, plaintiff contends that LCG failed to properly scrutinize Alex Ritter's background
 prior to hiring him and negligently retained him as their employee without proper training,
 monitoring, supervision, and/or discipline. These failures on the part of LCG again created a
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 3 of 11 PageID #: 126




 consequence-free environment in which defendant Alex Ritter felt free to violate Edmond
 Thornton's constitutional rights and commit negligent acts against plaintiff as described above.

 5.     Brief Statement of Responses:

          Defendant, OFFICER ALEX RITTER, INDIVIDUALLY, denies that he is guilty of any
 violation of the plaintiff’s constitutional rights generally, and specifically, the Fourth and/or
 Fourteenth Amendments to the U.S. Constitution. Defendant further contends that he acted in
 good faith and with probable cause as to each and every act or omission alleged by the plaintiff,
 and that reasonable force was used under the facts and circumstances as faced by Officer Ritter.
 Specifically, Officer Ritter contends that he is entitled to qualified immunity from suit and
 liability in his individual capacity. Moreover, defendant contends that his actions did not
 constitute deliberate indifference to the rights of plaintiff. Defendant contends that any action
 and/or inaction alleged by the plaintiff did not amount to deliberate indifference and/or reckless
 disregard or conduct so arbitrary as to shock the conscience necessary for a 14th Amendment due
 process violation, pursuant to County of Sacramento v. Lewis, 523 U.S. 833, 118 S.Ct. 1708
 (1998). Only a purpose to cause harm unrelated to the legitimate object of arrest will satisfy the
 element of arbitrary conduct shocking to the conscience, necessary for a due process violation.
 County of Sacramento, supra.

         Further, defendant shows that on December 31, 2020, he responded to a call regarding an
 armed robbery with a knife in progress call, where it was reported that the suspect (plaintiff) was
 in front of a room at Plantation Inn banging on a room door. The suspect was described as a
 white male wearing no shirt and khaki pants. When Officer Ritter arrived at the location, he
 observed a white male wearing no shirt and khaki pants in front of the reported room at Plantago
 Inn. Officer Ritter’s first impression of plaintiff was that he was heavily intoxicated, as he was
 swaying back and forth while walking, had slurred speech and was unsure in his balance. For
 officer safety (and since this was a felony call), Officer Ritter patted down plaintiff for officer
 safety. During this time, plaintiff was passively resisting, and Officer Ritter held onto his arm as
 he was having difficulty standing and walking.

         The plaintiff was brought to the front push bumper of Officer Ritter’s unit, when he
 noticed dried blood around plaintiff’s lips. He had no active bleeding from his mouth at this
 time. Officer Ritter advised plaintiff that he would be detained so the officers could figure out
 what was going on. Plaintiff requested to be cuffed to the vehicle (which is against instruction
 on detainment), and Officer Ritter attempted to handcuff plaintiff, plaintiff failed to comply with
 commands being given. After numerous commands, plaintiff finally was cuffed and placed
 inside the backseat of Officer Ritter’s unit. After conversing with the victim, Officer Ritter
 returned to his unit when he advised plaintiff of his Miranda rights and that he was being
 arrested for armed robbery and simple battery. While in the back seat of Officer Ritter’s unit,
 plaintiff began banging his head against the window of the unit. Plaintiff did not cease banging
 his head and body against the backseat door of the unit after being advised to stop.
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 4 of 11 PageID #: 127




         Officer Ritter then transported plaintiff to Lafayette Parish Correctional Center (LPCC)
 for booking. Plaintiff continued to yell and scream during transport. He threatened Officer Ritter
 that he would find Officer Ritter’s family, as well.

         Upon arrival at LPCC, Officer Ritter advised Mr. Thornton to cooperate with the intake.
 He advised he would cooperate. Prior to getting out of Officer Ritter’s unit, there was a safety
 concern outside of his window. An unknown black female was standing within a foot of Officer
 Ritter’s marked patrol unit. The unknown female eventually walked away in an unknown
 direction.

         As Officer Ritter assisted Mr. Thornton out of his unit, he noticed fresh blood on
 plaintiff’s khaki pants which was a result of his continued self harm/mutilation. Plaintiff again
 became aggressive and was not complying with verbal commands to exit the vehicle. Once he
 did finally exit, Officer Ritter kept his left hand on plaintiff’s right arm while walking to the
 intake door. Plaintiff was passively resisting and trying to pull back toward Officer Ritter’s unit.
 Plaintiff suddenly sprung forward, and Officer Ritter perceived that as an attempt to escape his
 grip. Thereafter, Officer Ritter kept his hand on plaintiff’s right arm and placed him on the wall
 of the LPCC building. Officer Ritter reached over to press the button to the intake door (which
 did not immediately unlock). LPCC is manned by the Lafayette Parish Sheriff s Office deputies.
 The normal procedure upon arrival with a prisoner is to press the button to unlock the door to
 enter what is referred to as "the cop room." It has been Officer Ritter’s experience that upon
 pressing the unlock button, the door disengages within 10- l5 seconds. The door did not open this
 time.

          Officer Ritter steadily provided loud verbal commands to Mr. Thornton to stop resisting
 and cooperate. He refused to comply and plaintiff’s elbow struck the center of Officer Ritter’s
 chest, which knocked Officer Ritter’s BWC and lapel microphone off of his uniform. As Officer
 Ritter tried to keep Mr. Thornton on the wall for both of their safety, plaintiff continued trying to
 turn toward Officer Ritter in an attempt to disengage from the officer’s grasp. When plaintiff
 delivered a second elbow strike to Officer Ritter’s chest, Officer Ritter pushed plaintiff firmly
 against the wall.

         While trying to gain and maintain control of Mr. Thornton (now an actively resisting
 and aggressive armed robbery suspect), and waiting for an LPSO Deputy to come to
 Officer Ritter’s aid, plaintiff continued to thrash himself back toward Officer Ritter in an attempt
 to disengage himself from the officer’s grasp. Officer Ritter feared that had plaintiff been able to
 maneuver into a position facing Officer Ritter, that plaintiff would attempt to head-butt the
 officer, bite officer, or otherwise maneuver to escape the officer’s hold.

         In accordance with Officer Ritter’s training, LPD General Order 301.12, relevant
 statutory and jurisprudential law, and because Mr. Thornton continued to ignore the officer’s
 presence and repeated verbal commands, Officer Ritter transitioned to a combination of soft and
 hard empty hand control, which he assessed to be reasonably necessary for his safety and to
 maintain control of a non-compliant felony suspect. Officer Ritter attempted to use his hands and
 body to guide, hold, and restrain Mr. Thornton, and also delivered several empty closed fist
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 5 of 11 PageID #: 128




 strikes to his jaw line until compliance was rendered and plaintiff stopped resisting. Officer
 Ritter was finally able to control plaintiff into the corner wall of the LPCC building while still
 waiting for aid and assistance from a LPSO Correctional Deputy (which took approximately 1
 minute or so).

          After around a minute, the LPCC door finally unlocked and Officer Ritter was able to
 escort Mr. Thornton inside. Officer Ritter instructed plaintiff to sit on the bench at which time a
 LPSO Deputy asked if plaintiff needed to be handcuffed to the bench, and Officer Ritter advised
 that plaintiff should be cuffed to a bench. The Deputy handcuffed plaintiff to the bench as he was
 still highly aggressive.

        Officer Ritter called for a supervisor to be en route to LPCC for a notary, as well as to
 prepare a use of force report. The Deputy returned to the intake room and uncuffed Mr. Thornton
 from the bench and stated he needed to be transported to the hospital and cleared prior to being
 booked. Sgt. Ryan Shanahan was en route to LPCC, as well. Sgt. Shanahan arrived at LPCC and
 attempted to take pictures of Mr. Thornton who was non-compliant and did not want pictures
 taken.

         Officer Ritter transported Mr. Thornton to University Hospital Clinic (UHC) where he
 was seen by Dr. Rodriguez. Plaintiff advised that he was experiencing pain in his hand and
 knuckles (likely from punching the victim at Plantation Inn). X-rays where taken of plaintiff’s
 hand. Plaintiff then advised Dr. Rodriguez of pain in his jaw. After examination, Dr. Rodriguez
 diagnosed an abscessed tooth which was causing pain and swelling in his mouth. Plaintiff was
 prescribed antibiotics and cleared for booking. Officer Ritter than again transported plaintiff to
 LPCC where he was booked for armed robbery and simple battery.

         By Bill of Information dated February 2, 2021, plaintiff was charged with armed robbery,
 attempted simple escape from custody, battery on a police officer and resisting arrest. Officer
 Ritter was listed as the victim in the Bill of Information relative to the counts involving
 attempted simple escape from custody, battery on a police officer and resisting arrest. On
 December 2, 2021, the armed robbery charge was amended to simple battery, and plaintiff pled
 guilty to the amended charge. In exchange for his plea, the remaining charges were dismissed.

         Defendant affirmatively pleads the defenses, immunities, and protections afforded him by
 state and federal law generally, and specifically, La. R.S. 9:2800.10, La. R.S. 9:2800.19, La. R.S.
 9:2798.1, and La. C.Cr.P. art. 201.

          In addition, defendant shows that the only force used on plaintiff was during plaintiff's
 lawful arrest, which in and of itself does not constitute excessive force as a matter of law. An
 officer making a lawful arrest may use reasonable force to overcome any resistance by the person
 being arrested under La. C.Cr.P. art. 220. Moreover, defendant denies any negligence and/or
 intentional acts and contends that exigent and/or emergency circumstances justified each and
 every act or omission alleged by the plaintiff. Likewise, defendant asserts that the federal and
 state standards of review regarding use of force are the same pursuant to Reneau v. City of New
 Orleans, 2004 WL 1497711 (E.D. La. 2004), citing Kyle v. City of New Orleans, 353 So.2d 969,
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 6 of 11 PageID #: 129




 973 (La. 1977) and Mathieu v. Imperial Toy Corp., 94-0952 (La. 11/30/94), 656 So.2d 318; see
 also, Bellamore v. City of Westwego, 2001 WL 214030 (E.D. La. 2001), such that plaintiff’s state
 law claims are likewise without merit, since the force used was reasonable under the facts and
 circumstances of this case. Alternatively, defendant shows that he is entitled to qualified
 immunity for plaintiff’s claims under the Louisiana Constitution as per Moresi v. State Through
 Dept. Of Wildlife and Fisheries, 567 So.2d 1081 (La. 1990). Further, defendant reasserts all
 defenses pled in his answer.

       Finally, Officer Ritter shows that he cannot be liable for preexisting medical conditions
 which were in no way caused or exacerbated by any alleged acts or failure to act.

         Defendant, LCG, adopts the Brief Statement of Responses asserted on behalf of Officer
 Alex Ritter, individually. In addition, the LCG denies that it has allowed a culture and
 environment to develop within the Lafayette Police Department, which allowed or tolerated the
 use of excessive and unjustified force. The LCG also properly and adequately investigates and
 disciplines officers, who use excessive and unjustified force. Further, Alex Ritter and the
 Lafayette Police Department officers were properly hired, trained in accordance with law and
 were supervised to the extent possible. The LCG never adopted careless and reckless policies,
 customs or practices which had anything to do with Plaintiff’s alleged complaints. The LCG also
 never deprived Plaintiff of any constitutionally protected rights. The LCG is not vicariously
 liable for any constitutional violations and was never deliberately indifferent with respect to
 Plaintiff’s allegations.

         The LCG admits that Officer Ritter was in the course and scope of his employment with
 the Lafayette Police Department at the time of his felony arrest incident. However, the LCG
 denies that Plaintiff sustained any injuries as a result of the alleged incident. Further, no
 defendant is liable for any injuries sustained by Plaintiff, when he intentionally struck his head
 multiple times in the police unit or elsewhere. The LCG is also not liable for any pre-existing
 injuries and/or conditions of Plaintiff. In fact, the LCG claims that Plaintiff sustained no injuries
 in the alleged incident, and if he did, the injuries were caused by his own criminal and intentional
 conduct.

 6.     Anticipated Amendments to Pleadings and Motions:

        Plaintiff may amend his complaint to add any additional claims against defendants
 supported by any evidence revealed in discovery. In addition, plaintiff may file motions in limine
 and/or Daubert motions as necessary.

         Defendant, Officer Alex Ritter in His Individual Capacity: Defendant may file a Rule 56
 Motion for Summary Judgment once discovery is completed. In the future, Defendant may file
 Motions in Limine and/or Daubert Motions regarding various evidentiary matters, including
 expert testimony.
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 7 of 11 PageID #: 130




        Defendant, LCG, may file a Motion for Summary Judgment once more discovery is
 conducted. The LCG may also file Motions in Limine and/or Daubert Motions regarding various
 evidentiary matters, including expert testimony.

 7.     Anticipated Expert Witnesses:

         Plaintiff may retain an expert in the field of police practices and use of force. Depending
 on the information revealed in discovery, plaintiff may name additional experts in accordance
 with the Court’s scheduling order. Further, plaintiff will call his treating doctors to provide
 expert testimony regarding his injuries and treatment.

         Defendant, Officer Alex Ritter, in His Individual Capacity: Defendant intends to use
 George Armbruster, Expert in the field of police policy, procedures and use of force. Should
 defendant determine that any additional experts are needed, said expert will be named and
 otherwise disclosed by the deadline contained in the Court's Scheduling Order. Moreover,
 should plaintiff engage experts by the applicable deadline contained in the Court's Scheduling
 Order, then defendant wishes to preserve the right to retain any expert needed and will name said
 expert by the deadlines contained in the Court's scheduling order.

         Defendant, the LCG, may also retain Mr. Armbruster as set forth in Officer Ritter’s
 assertion above. Should the LCG determine that any additional experts are needed, said expert
 will be named and otherwise disclosed by the deadline contained in the Court's Scheduling
 Order. Moreover, should Plaintiff engage experts by the applicable deadline contained in the
 Court's Scheduling Order, then Defendant wishes to preserve the right to retain any expert
 needed and will name said expert by the deadlines contained in the Court's Scheduling Order.

 8.     Discovery Plan:

        The parties do not anticipate that this case will require a specialized discovery plan.

 9.     Stipulations:

        Officer Alex Ritter was in the course and scope of his employment as a police officer at
 the time of the incident sued upon.

        Plaintiff pled guilty to simple battery in connection with the incident in question.

 10.    Major Issues of Fact and Law in Dispute:

        Parties contend the issues of fact and law in dispute are:

        a)      The facts and circumstances surrounding the incident sued upon;

        b)      Whether or not the constitutional civil rights of plaintiff were violated;
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 8 of 11 PageID #: 131




         c)      Whether or not any injuries or damages resulted, either physically or mentally,
 directly or indirectly as a result of the incident herein;

         d)     Whether the actions of Officer Ritter was in deliberate indifference to the rights of
 plaintiff;

         e)     Whether or not Officer Ritter acted negligently and/or committed any intentional
 acts;

         f)      Whether there was exigent and/or emergency circumstances justifying all actions
 on the part of Officer Ritter under the circumstances he faced;

        g)      Whether there is medical causation for any/all physical and emotional injuries
 claimed by plaintiff;

         h)      Whether defendant, Officer Ritter, is entitled to qualified immunity from liability
 and/or suit in his individual capacity;

         i)     Whether or not the plaintiff suffered a deprivation of any constitutional rights;

        j)      Whether or not Lafayette City-Parish Consolidated Government is liable under a
 theory of respondent superior for plaintiff's state tort law claims;

       k)      Whether or not the Officer Ritter is entitled to discretionary and/or statutory
 immunity for plaintiff's state tort law claims;

         l)     Whether or not Officer Ritter used excessive force;

         m)     Whether the LCG was deliberately indifferent to the rights of Plaintiff.

         n)     Whether Officer Ritter was properly hired, trained and/or supervised.

        o)      Whether the LCG's policies, customs and practices were proper under the
 circumstances.

        p)      Whether the LCG or Officer Ritter were negligent or at fault for the alleged
 incident.

         q)      Whether Plaintiff sustained any damages or whether any injuries were
 self-inflicted or pre-existed.

         r)     Any and all other issues of fact or law inherent in the pleadings filed into this
                matter.
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 9 of 11 PageID #: 132




 11.    Related Case Information:

        None.

 12.    Surveillance Evidence:

        Counsel for the parties wish to opt in to the Court's prior procedure regarding surveillance
 evidence.

 13.    Alternative Dispute Resolution (ADR):

        Plaintiff submits that alternative dispute resolution is premature at this time, but will
 consider ADR ins the future in accordance with the Court’s scheduling order.

         Defendant, Officer Alex Ritter, in His Individual Capacity: Defendant is not agreeable to
 submitting to Alternative Dispute Resolution at this time. Should this position change, counsel
 for defendant will notify all parties.

        Defendant, the LCG, contends that it is premature to submit to Alternative Dispute
 Resolution at this time. Should this position change, the LCG will notify all parties.


 14.    Rule 16 Conference:

        Plaintiff:      Does not believe that a Rule 16 Conference would be beneficial at this
                        time.

        Defendants: Do not believe that a Rule 16 Conference would be beneficial at this time.

 15.    Electronic Courtroom:

        Because of the early stages of this litigation, the parties are uncertain at this time as to the
 number of documents they reasonably anticipate will be offered as evidence at the trial of this
 matter. However, the parties expect the number of document pages will exceed 25 and shall
 comply with the court's requirement that the documents be burned onto a disk and presented
 and/or demonstrated via CD Rom.

 16.    Electronically Generated Exhibits or Aids:

         The parties do not anticipate using any computer generated and/or
 electronically-generated exhibits or demonstrative aids at trial.
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 10 of 11 PageID #: 133




  17.    Handicap Provisions:

         The parties do not anticipate that any need for handicap accommodations will be
  necessary, but will alert the Court in a timely manner should the need arise.


  18.    Consent Trials:

         The parties are aware of their right to consent to a trial by Magistrate Judge, pursuant to
  28 U.S.C. §636(c).

         Plaintiff does not wish to proceed to trial before the Magistrate Judge at this time.

         Defendants do not wish to proceed to trial before the Magistrate Judge at this time.

                                 CERTIFICATION BY COUNSEL

  I HEREBY CERTIFY THAT THE FOREGOING IS ACCURATE AND COMPLETE.


                                                Respectfully submitted,

                                                BROUSSARD & DAVID, LLC


                                        BY:     /s/ Robert B. Brahan, Jr.
                                                Robert B. Brahan, Jr. (No. 31390)
                                                557 Jefferson Street (Physical)
                                                Post Office Box 3524 (Mailing)
                                                Lafayette, Louisiana 70502-3524
                                                (337) 233-2323 - Phone
                                                (337) 233-2353 - Fax
                                                E-mail: robert@broussard-david.com

                                        ATTORNEYS FOR PLAINTIFF, EDMOND THORNTON
Case 6:21-cv-04131-RRS-PJH Document 22 Filed 07/11/22 Page 11 of 11 PageID #: 134




                                     BORNE, WILKES & RABALAIS, L.L.C.



                               BY:                S/Joy C. Rabalais
                                     JOY C. RABALAIS (26476), T.A.
                                     H. EDWARD BAROUSSE, III (28310)
                                     JORDAN JOHN HENAGAN (36206)
                                     GRANT R. SCHEXNAILDER (40040)
                                     K. ELIZABETH HEINEN (24452)
                                     200 West Congress Street, Suite 1000
                                     Post Office Box 4305
                                     Lafayette, Louisiana 70502-4305
                                     Telephone: (337) 232-1604 Ext. 232
                                     Facsimile: (337) 232-1837
                                     E-mail: rabalais@bornewilkes.com

                               ATTORNEYS FOR OFFICER ALEX RITTER, IN HIS
                               INDIVIDUAL CAPACITY


                                     SCOFIELD & RIVERA, L.L.C.

                               BY:   s/Bryan D. Scofield
                                     BRYAN D. SCOFIELD (#19147)
                                     JAMES T. RIVERA (#23913)
                                     JESSICA W. MARCHAND (#34160)
                                     P. O. Box 4422
                                     100 E. Vermilion, Ste. 301
                                     Lafayette, LA 70501
                                     TEL: (337) 235-5353
                                     E-mail: Bryan@scorivlaw.com

                               ATTORNEYS FOR LAFAYETTE CITY-PARISH
                               CONSOLIDATED GOVERNMENT
